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UNITED STATES DISTRICT COURT

in and for the SOUTHERN DISTRICT OF NEW YORK

Abraham Mykoff, individually CASE NO.:
Ron Greenberg, individually
DEMAND FOR JURY TRIAL
Plaintiffs,

VS.

HOME DEPOT, iINC.; COURI, aka

Cuori International (H.K.) Ltd., aka

Cuori Group, aka Ningbo Prince Electric
Appliance Co. Ltd., aka Millan Stylee

Alan Kape, aka owner, Kape insurance

Agency, Individually, and, in official capacity

Scott Fluger, Kape Insurance Agency,
Individually, and in official capacity

Philadelphia Insurance Companies, aka
Philadelphia Consolidated Holding Corp.

aka Tokio Marine Holdings, inc.;

Jim Cahill, Mayor, The City of New Brunswick
Individually and in official capacity Middlesex
Board of County Commissioners, Robert

Rawis, Director, The City of New Brunswick

Fire Department, Individually and in official capacity,
Charles E. Tomaro, Freeholder Deputy Director,
Middiesex County's Board of Chosen Freeholders,
Individually and in Official Capacity

Christoper Paladino, DEVCO, Individually and in
official capacity, Mitch Karon, Executor Director,
New Brunswick Parking Authority, Individually and
in official capacity, Board of Commissioners New
Brunswick Parking Authority, Individual and

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COMPLAINT MYKOFF vs HOME DEPOT: DEMAND FOR JURY TRIAL
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Official Capacity, Leonard Bier, Attorney for New
Brunswick Parking Authority, Individually and in
Official Capacity.

DOES 1 to 100,

Defendants,

TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORDS:

Plaintiffs, Abraham Mykoff, individually, Ron Greenberg, individually:

hereby demand a trial by jury in the above-captioned case.

DATED: 22" October 2017

Abraham Mykoff/” SL)

Ron Greenberg

CERTIFICATE OF SERVICE

I, ,am a citizen of the United States, am over 18 years of age,

and not a party to this action. On the date of the execution of this Certificate, | mailed first

class postage prepaid a true and correct copy of the following document to:

DEMAND FOR JURY TRIAL
TO:
| certify under penalty of perjury that the above is true and correct.

DATED:

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